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         8                            UNITED STATES DISTRICT COURT
         9                           EASTERN DISTRICT OF CALIFORNIA
       10

       11    UNITED STATES OF AMERICA,                    )
                                                          )
       12                           Plaintiff,            )
                                                          )    Case No. 2:10-CR-00257 KJM
       13    v.                                           )
                                                          )
       14    GALIOM MANSOUR, NAEIM HANNO, and             )    RELATED CASE ORDER
             SOUTH BAY WHOLESALE, INC.,                   )
       15                                                 )
                                    Defendants.           )
       16                                                 )
                                                          )
       17    UNITED STATES OF AMERICA,                    )
                                                          )
       18                           Plaintiff,            )    Case No. 2:10-CR-00258 JAM
                                                          )
       19    v.                                           )
                                                          )
       20    ADIB SIROPE, RIMOUN MANSOUR, AND             )
             PAY-LESS WHOLESALE,                          )
       21                                                 )
                                    Defendants.           )
       22                                                 )
                                                          )
       23    UNITED STATES OF AMERICA,                    )
                                                          )
       24                           Plaintiff,            )    Case No. 2:10-CR-00259 KJM
                                                          )
       25    v.                                           )
                                                          )
       26    ATIF HENAN, ATEF SHEHATA, SAMY               )
             GIRGIS, and SOHEIR GIRGIS,                   )
       27                                                 )
                                    Defendants.           )
       28                                                 )
                                                          )
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         1   UNITED STATES OF AMERICA,          )
                                                )
         2                      Plaintiff,      )
                                                )              Case No. 2:10-CR-00260 KJM
         3   v.                                 )
                                                )
         4   JACK HAROUN, and WHOLESALE PALACE, )
             INC.,                              )
         5                                      )
                                Defendants.     )
         6                                      )
             UNITED STATES OF AMERICA,          )
         7                                      )
                                Plaintiff,      )
         8                                      )              Case No. 2:08-CV-02753 JAM-
             v.                                 )              GGH
         9                                      )
             APPROXIMATELY $23,032.07 IN U.S.   )
       10    CURRENCY SEIZED FROM BANK OF       )
             AMERICA ACCOUNT NO. 03842-03399,   )
       11    HELD IN THE NAME OF PAY-LESS       )
             WHOLESALE,                         )
       12                                       )
             APPROXIMATELY 135,455 CIGARS,      )
       13    (SMOKEABLE OTP) IN PACKS OF 5, 10, )
             AND 20 RECOVERED FROM PAY-LESS     )
       14    WHOLESALE,                         )
                                                )
       15    APPROXIMATELY 2,297 CIGARS         )
             (SMOKEABLE OTP) IN PACKS OF 50     )
       16    RECOVERED FROM PAY-LESS WHOLESALE, )
                                                )
       17    APPROXIMATELY 151 CIGARS           )
             (SMOKEABLE OTP) IN PACKS OF 240    )
       18    RECOVERED FROM PAY-LESS WHOLESALE, )
                                                )
       19    APPROXIMATELY 326,942 INDIVIDUAL   )
             CIGARS (SMOKEABLE OTP) RECOVERED   )
       20    FROM PAY-LESS WHOLESALE,           )
                                                )
       21    APPROXIMATELY 57 CASES OF          )
             SMOKEABLE OTP RECOVERED FROM       )
       22    PAYLESS-WHOLESALE,                 )
                                                )
       23    APPROXIMATELY 4,952 BOXES OF       )
             SMOKEABLE OTP RECOVERED FROM PAY- )
       24    LESS WHOLESALE,                    )
                                                )
       25    APPROXIMATELY 11,584 CANS OF       )
             SMOKEABLE OTP RECOVERED FROM PAY- )
       26    LESS WHOLESALE,                    )
                                                )
       27    APPROXIMATELY 6,914 TUBS OF        )
             SMOKEABLE OTP RECOVERED FROM PAY- )
       28    LESS WHOLESALE,                    )
                                                )
                                                      2
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         1   APPROXIMATELY 15,141 UNITS OF      )
             SMOKEABLE OTP IN PACKS OF 5, 10,   )
         2   AND 20 RECOVERED FROM PAY-LESS     )
             WHOLESALE,                         )
         3                                      )
             APPPROXIMATELY 136,211             )
         4   BAGS/POUCHES OF SMOKEABLE OTP      )
             RECOVERED FROM PAY-LESS WHOLESALE, )
         5                                      )
             APPROXIMATELY 855 CASES            )
         6   (CONTAINING APPROXIMATELY 10,608   )
             UNITS) OF AL FAKHER TOBACCO        )
         7   SMOKEABLE OTP EVIDENCE RECOVERED   )
             FROM PAY-LESS WHOLESALE,           )
         8                                      )
             APPROXIMATELY 272 CASES            )
         9   (CONTAINING APPROXIMATELY 6,676    )
             UNITS) OF AL WAHA MOLASSES TOBACCO )
       10    SMOKEABLE OTP EVIDENCE RECOVERED   )
             FROM PAY-LESS WHOLESALE,           )
       11                                       )
             APPROXIMATELY 995 CASES            )
       12    (CONTAINING APPROXIMATELY 46,112   )
             UNITS) OF EVA MODSAL TOBACCO       )
       13    SMOKEABLE OTP EVIDENCE RECOVERED   )
             FROM PAY-LESS WHOLESALE,           )
       14                                       )
             APPROXIMATELY 420 CASES            )
       15    (CONTAINING APPROXIMATELY 5,040    )
             UNITS) OF JAWATTER TOBACCO         )
       16    SMOKEABLE OTP EVIDENCE RECOVERED   )
             FROM PAY-LESS WHOLESALE,           )
       17                                       )
             APPROXIMATELY 1,473 CASES          )
       18    (CONTAINING APPROXIMATELY 16,674   )
             UNITS) OF LAYALINA TOBACCO         )
       19    SMOKEABLE OTP EVIDENCE RECOVERED   )
             FROM PAY-LESS WHOLESALE,           )
       20                                       )
             APPROXIMATELY 352 UNITS OF         )
       21    MISCELLANEOUS SMOKEABLE OTP        )
             EVIDENCE RECOVERED FROM PAY-LESS   )
       22    WHOLESALE,                         )
                                                )
       23    APPROXIMATELY 2,124 CASES          )
             (CONTAINING APPROXIMATELY 14,740   )
       24    UNITS) OF MOLASSES TOBACCO         )
             SMOKEABLE OTP EVIDENCE RECOVERED   )
       25    FROM PAY-LESS WHOLESALE,           )
                                                )
       26    APPROXIMATELY 640 CASES            )
             (CONTAINING APPROXIMATELY 19,884   )
       27    UNITS) OF PRIME TIME CIGARS        )
             SMOKEABLE OTP EVIDENCE RECOVERED   )
       28    FROM PAY-LESS WHOLESALE,           )
                                                )

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         1   APPROXIMATELY 113 CASES            )
             (CONTAINING APPROXIMATELY 5,112    )
         2   UNITS) OF ERIK CIGARS SMOKEABLE    )
             OTP EVIDENCE RECOVERED FROM PAY-   )
         3   LESS WHOLESALE,                    )
                                                )
         4   APPROXIMATELY 11 CASES (CONTAINING )
             APPROXIMATELY 440 UNITS) OF HAV-A- )
         5   TAMPA JEWLS CIGARS SMOKEABLE OTP   )
             EVIDENCE RECOVERED FROM PAY-LESS   )
         6   WHOLESALE,                         )
                                                )
         7   APPROXIMATELY 5,906 POUCHES OF     )
             MOLASSES SMOKEABLE OTP EVIDENCE    )
         8   RECOVERED FROM PAY-LESS WHOLESALE, )
                                                )
         9   APPROXIMATELY 1,200 PACKS OF       )
             PHILLIES CIGARILLOS SMOKEABLE OTP )
       10    EVIDENCE RECOVERED FROM PAY-LESS   )
             WHOLESALE,                         )
       11                                       )
                                Defendants.     )
       12                                       )
                                                )
       13    UNITED STATES OF AMERICA,          )
                                                )
       14                       Plaintiff,      )              Case No. 2:09-CV-00151 JAM-
                                                )              GGH
       15         v.                            )
                                                )
       16    APPROXIMATELY $6,085.00 IN U.S.    )
             CURRENCY,                          )
       17                                       )
             APPROXIMATELY $32,053.00 IN U.S.   )
       18    CURRENCY,                          )
                                                )
       19    APPROXIMATELY $555.00 IN U.S.      )
             CURRENCY,                          )
       20                                       )
             APPROXIMATELY $3,900.00 IN U.S.    )
       21    CURRENCY,                          )
                                                )
       22    APPROXIMATELY $35,261.00 IN U.S.   )
             CURRENCY, and                      )
       23                                       )
             APPROXIMATELY TWO CASES OF         )
       24    SMOKELESS TOBACCO,                 )
                                                )
       25                       Defendants.     )
                                                )
       26    UNITED STATES OF AMERICA,          )
                                                )
       27                       Plaintiff,      )
                                                )              Case No. 2:08-CV-02075 JAM-
       28    v.                                 )              GGH
                                                )
                                                      4
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         1   REAL PROPERTY LOCATED AT 6525      )
             SOUTH BRUCE STREET, LAS VEGAS,     )
         2   NEVADA, CLARK COUNTY, APN: 177-02- )
             510-005, INCLUDING ALL             )
         3   APPURTENANCES AND IMPROVEMENTS     )
             THERETO,                           )
         4                                      )
                                Defendants.     )
         5                                      )
             UNITED STATES OF AMERICA,          )
         6                                      )
                                Plaintiff,      )
         7                                      )              Case No. 2:08-CV-02752 JAM-
             v.                                 )              GGH
         8                                      )
             APPROXIMATELY $23,770.87 IN U.S.   )
         9   CURRENCY SEIZED FROM BANK OF       )
             AMERICA ACCOUNT NO. 0050 1112      )
       10    8989, HELD IN THE NAME OF G&R      )
             EMPIRE, LLC,                       )
       11                                       )
             APPROXIMATELY $6,741.29 IN U.S.    )
       12    CURRENCY SEIZED FROM BANK OF       )
             AMERICA ACCOUNT NO. 0050 1113      )
       13    0692, HELD IN THE NAME OF PHOENIX )
             CASH & CARRY, LLC,                 )
       14                                       )
             APPROXIMATELY $9,774.73 IN U.S.    )
       15    CURRENCY SEIZED FROM BANK OF       )
             AMERICA ACCOUNT NO. 0049 6875      )
       16    8911, HELD IN THE NAME OF IDEAL    )
             TOBACCO WHOLESALE, INC.,           )
       17                                       )
             APPROXIMATELY $7,054.55 IN U.S.    )
       18    CURRENCY SEIZED FROM WELLS FARGO   )
             BANK ACCOUNT NO. 671-0134131, HELD )
       19    IN THE NAME OF BITTAR FAMILY       )
             TRUST,                             )
       20                                       )
                                                )
       21    APPROXIMATELY $31,402.20 IN U.S.   )
             CURRENCY SEIZED FROM WELLS FARGO   )
       22    BANK ACCOUNT NO. 091-1704013, HELD )
             IN THE NAME OF RAED MOURI AND      )
       23    LOUDY EGHO,                        )
                                                )
       24    APPROXIMATELY $29,095.02 IN U.S.   )
             CURRENCY SEIZED FROM WELLS FARGO   )
       25    BANK ACCOUNT NO. 071-0335696, HELD )
             IN THE NAME OF BITTAR FAMILY       )
       26    TRUST,                             )
                                                )
       27    APPROXIMATELY 6,954 TOTAL BOXES OF )
             ASSORTED SMOKEABLE OTP EVIDENCE    )
       28    (CONTAINING APPROXIMATELY 431,447 )
             UNITS OF SMOKEABLE OTP) RECOVERED )
                                                      5
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         1   FROM IDEAL TOBACCO WHOLESALE,      )
                                                )
         2   APPROXIMATELY 22 TOTAL BOXES OF    )
             SMOKEABLE OTP EVIDENCE (CONTAINING )
         3   APPROXIMATELY 1,350 UNITS OF       )
             SMOKEABLE OTP) RECOVERED FROM THE )
         4   ABF DELIVERY TRUCK AT IDEAL        )
             TOBACCO WHOLESALE, and             )
         5                                      )
             APPROXIMATELY 87,595 UNITS OF      )
         6   ASSORTED SMOKEABLE OTP EVIDENCE    )
             RECOVERED FROM PHOENIX CASH &      )
         7   CARRY,                             )
                                                )
         8                    Defendants.       )
                                                )
         9                                      )
             UNITED STATES OF AMERICA,          )
       10                                       )
                              Plaintiff,        )              Case No. 2:09-CV-00111 JAM-
       11                                       )              GGH
             v.                                 )
       12                                       )
             APPROXIMATELY $4,023.00 IN U.S.    )
       13    CURRENCY,                          )
                                                )
       14    APPROXIMATELY $1,280.00 IN U.S.    )
             CURRENCY,                          )
       15                                       )
             APPROXIMATELY $6,268.00 IN U.S.    )
       16    CURRENCY,                          )
                                                )
       17    APPROXIMATELY $5,510.00 IN U.S.    )
             CURRENCY, and                      )
       18                                       )
             APPROXIMATELY 169 BOXES OF         )
       19    SMOKELESS TOBACCO,                 )
                                                )
       20                     Defendants.       )
                                                )
       21

       22          Examination of the above-entitled actions reveals that these

       23    actions are related within the meaning of Local Rule 123 (E.D. Cal.

       24    2005). Accordingly, the assignment of the matters to the same judge

       25    and magistrate judge is likely to affect a substantial savings of

       26    judicial effort and is also likely to be convenient for the

       27    parties.

       28          The parties should be aware that relating the cases under


                                                      6
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         1   Local Rule 123 merely has the result that these actions are

         2   assigned to the same judge and magistrate judge; no consolidation

         3   of the actions is effected.           Under the regular practice of this

         4   court, related cases are generally assigned to the judge and

         5   magistrate judge to whom the first filed action was assigned.

         6         IT IS THEREFORE ORDERED that the actions denominated 2:10-CR-

         7   00257-KJM, 2:10-CR-00259-KJM and 2:10-CR-00260-KJM be reassigned to

         8   Judge John A. Mendez and Magistrate Judge Gregory G. Hollows for

         9   all further proceedings, and any dates currently set in this

       10    reassigned case only are hereby VACATED.           Henceforth, the caption

       11    on documents filed in the reassigned cases shall be shown as 2:10-

       12    CR-00257 JAM, 2:10-CR-00259 JAM, and 2:10-CR-00260-JAM.

       13          IT IS FURTHER ORDERED that the Clerk of the Court make

       14    appropriate adjustment in the assignment of criminal cases to

       15    compensate for this reassignment.

       16          IT IS SO ORDERED.

       17    Dated: March 21, 2011

       18                                                 /s/ John A. Mendez__________
                                                          JOHN A. MENDEZ
       19                                                 United States District Judge
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